USCA Case #23-5044    Document #2018981         Filed: 09/26/2023   Page 1 of 26



                       ARGUED ON MAY 19, 2023
                                No. 23-5044

                                    In the
               United States Court of Appeals
                 for the District of Columbia Circuit
                            ____________________

                          IN RE: SEALED CASE

                          ____________________
    ON APPEAL FROM THE UNITED STATES DISTRICT COURT
             FOR THE DISTRICT OF COLUMBIA
            District Court No. 22-sc-2144 (Howell, C.J.)
                               ______________

                RESPONSE FOR THE UNITED STATES
              IN OPPOSITION TO REHEARING EN BANC
                               ______________

 J.P. COONEY                           JACK SMITH
 Deputy Special Counsel                Special Counsel

 RAYMOND N. HULSER                     THOMAS P. WINDOM
 Counselor to the Special Counsel      Senior Assistant Special Counsel

 CECIL W. VANDEVENDER                  JAMES I. PEARCE
 Assistant Special Counsel             Assistant Special Counsel
                                       U.S. Department of Justice
                                       950 Pennsylvania Ave., N.W.
                                       Rm. B-206
                                       Washington, D.C. 20530
                                       (202) 705-9879
                                       jip@usdoj.gov
USCA Case #23-5044            Document #2018981                 Filed: 09/26/2023        Page 2 of 26



                                  TABLE OF CONTENTS

TABLE OF AUTHORITIES ....................................................................... ii

GLOSSARY OF ABBREVIATIONS .......................................................... iv

INTRODUCTION ...................................................................................... 1

BACKGROUND ........................................................................................ 2

ARGUMENT ............................................................................................. 5

        Rehearing en banc is unwarranted. ...................................................... 5

                A.      The Court’s factbound rejection of Twitter’s proposed
                        alternative to nondisclosure was correct and does not
                        conflict with precedent. ..................................................... 6

                B.      The Court’s determination that the procedures in
                        Freedman v. Maryland do not apply to a nondisclosure
                        order was correct and consistent with similar decisions
                        of other courts of appeals. ............................................... 11

CONCLUSION......................................................................................... 19

CERTIFICATE OF COMPLIANCE ......................................................... 20

CERTIFICATE OF SERVICE .................................................................. 21




                                                   i
USCA Case #23-5044             Document #2018981                 Filed: 09/26/2023        Page 3 of 26



                                TABLE OF AUTHORITIES

Cases

Freedman v. Maryland,
   380 U.S. 51 (1965) ....................................................................... 1, 4-5, 11

In re Long-Distance Tel. Serv. Fed. Excise Tax Refund Litig.,
    751 F.3d 629 (D.C. Cir. 2014) .................................................................. 5

In re National Security Letter,
    33 F.4th 1058 (9th Cir. 2022) ....................................................... 12, 14-15

In re Sealed Search Warrant & Application for a Warrant by Tel. or Other
    Reliable Elec. Means, 11 F.4th 1235, 1238-39 (11th Cir. 2021),
    cert. denied, 143 S. Ct. 88 (2022) .............................................................. 17

In re Search Warrant (Sealed),
    810 F.2d 67 (3d Cir. 1987) ..................................................................... 18

In re Search Warrant Issued June 13, 2019,
    942 F.3d 159 (4th Cir. 2019) .................................................................. 17

John Doe, Inc. v. Mukasey,
   549 F.3d 861 (2d Cir. 2008).......................................................... 11, 14-17

Matter of Subpoena 2018R00776,
  947 F.3d 148 (3d Cir. 2020).............................................................. 4, 9-10

Seattle Times Co. v. Rhinehart,
   467 U.S. 20 (1984) ................................................................................. 13

Thomas v. Chicago Park Dist.,
  534 U.S. 316 (2002) ............................................................................... 12

Twitter, Inc. v. Garland,
  61 F.4th 686 (9th Cir. 2023) ......................................................... 12-13, 15

United States v. Grubbs,
  547 U.S. 90 (2006) ................................................................................. 10


                                                    ii
USCA Case #23-5044               Document #2018981                   Filed: 09/26/2023           Page 4 of 26



United States v. Johnston,
  268 U.S. 220 (1925) ................................................................................. 9

Williams-Yulee v. Fla. Bar,
  575 U.S. 433 (2015) ........................................................................... 4, 10

Statutes and Rules

18 U.S.C. § 2705 ................................................................................. 2, 8, 16

18 U.S.C. § 2709 ........................................................................................ 14

Stored Communications Act, Pub. L. No. 99-508, 100 Stat. 1848
   (1986) ..................................................................................................... 2

Fed. R. App. P. 35 ....................................................................................... 5

Other Authorities

U.S. Dep’t of Justice, Seeking Enterprise Customer Data Held by Cloud
  Service Providers (Dec. 2017) ...................................................................... 8

U.S. Dep’t of Justice, Supplemental Policy Regarding Applications for
  Protective Orders Pursuant to 18 U.S.C. § 2705(b) (May 27, 2022) .................... 8




                                                       iii
USCA Case #23-5044    Document #2018981       Filed: 09/26/2023   Page 5 of 26



                     GLOSSARY OF ABBREVIATIONS

Add.            Addendum to Twitter’s Rehearing Petition

Amicus Br.      Amicus Brief filed by the Electronic Frontier Foundation

FBI             Federal Bureau of Investigation

Gov. Br.        Appellee Brief filed by the Government

JA              Joint Appendix

NDO             Nondisclosure order

NSL             National Security Letter

Pet.            Petition for En Banc Rehearing




                                    iv
USCA Case #23-5044      Document #2018981          Filed: 09/26/2023    Page 6 of 26



                               INTRODUCTION

      In a unanimous opinion, this Court affirmed the district court’s decision

that a nondisclosure order issued with a search warrant for a Twitter account

used by former President Donald J. Trump furthered a compelling governmental

interest in the secrecy and integrity of an ongoing investigation and was

narrowly tailored to further that compelling interest. Add.19-25. The Court

also held that procedural protections first announced in a case involving film

censorship, see Freedman v. Maryland, 380 U.S. 51 (1965), did not require the

district court to resolve Twitter’s First Amendment challenge to the

nondisclosure order before requiring Twitter to comply with the search warrant.

Add.25-29. Those holdings were correct and consistent with decisions of other

courts.

      The two issues on which Twitter seeks en banc rehearing do not merit

further review. First, Twitter contends (Pet.7-13) that the Court mandated a

categorical rule that disclosure to an account holder’s trusted representative

could never serve as an alternative to a nondisclosure order. In fact, the Court’s

rejection of Twitter’s proposed alternative as unworkable reflected a case-

specific application of the narrow-tailoring component of strict-scrutiny analysis

that neither merits reconsideration nor forecloses Twitter or other entities subject

to a nondisclosure order from seeking similar relief in future cases. Second,



                                         1
USCA Case #23-5044       Document #2018981        Filed: 09/26/2023     Page 7 of 26



Twitter argues (Pet.13-18) that the Court incorrectly held that Freedman’s

procedural protections were inapplicable.      With the partial exception of a

Second Circuit decision considering distinct—and subsequently amended—

nondisclosure requirements for a different type of legal process than the search

warrant involved here, Freedman has been limited to licensing schemes and

censorship    regimes,    and    the   Court     correctly   rejected     Twitter’s

“underdeveloped” (Add.26) argument to apply it here. The petition for en banc

rehearing should be denied.

                                BACKGROUND
      The Stored Communications Act, Pub. L. No. 99-508, 100 Stat. 1848

(1986), provides that when a court issues a search warrant to an electronic

communications service provider, the government may also seek an order

requiring the provider “not to notify any other person of the existence of the

warrant” for such period as the court deems appropriate, if the court finds, inter

alia, that disclosure would result in witness intimidation or otherwise seriously

jeopardize an investigation. 18 U.S.C. § 2705(b). Here, the district court issued

a search warrant for information associated with a Twitter account belonging to

the former President and an accompanying order (“nondisclosure order” or

“NDO”) under Section 2705(b) directing Twitter not to disclose “the existence

or content of the Warrant” for 180 days. JA2. Twitter failed to comply with the



                                        2
USCA Case #23-5044       Document #2018981           Filed: 09/26/2023   Page 8 of 26



warrant and moved to vacate or modify the NDO on the ground that it violated

Twitter’s First Amendment rights.             JA3-19.    Twitter argued that the

Government had failed to demonstrate a compelling interest supporting

nondisclosure, that “unique and important executive privilege considerations”

supported its First Amendment challenge, and that less restrictive means existed.

JA10-17 (capitalization altered in quotation). Twitter likewise contended that it

should not be required to comply with the warrant while its challenge to the

NDO was pending. JA17-18. In addition to opposing Twitter’s motion, the

Government moved for an order to show cause why Twitter should not be held

in contempt for failing to comply with the warrant in a timely fashion. JA22-

25.

      The district court directed Twitter to comply with the warrant while it

considered Twitter’s motion challenging the NDO and ultimately concluded

that the NDO survived strict scrutiny as “a narrowly tailored restriction for

which no less restrictive alternative is available that would be at least as effective

in serving the government’s compelling interests.” JA372. The district court

observed that the NDO was “narrow in scope and time duration” because it

prevented Twitter only from disclosing the warrant’s existence and was limited

to 180 days. JA381-82. Moreover, the court reasoned, Twitter’s proposed

alternatives—notifying the former President or one of his representatives under


                                          3
USCA Case #23-5044      Document #2018981         Filed: 09/26/2023   Page 9 of 26



the Presidential Records Act—were “untenable” because they did not allow the

Government to “maintain[] confidentiality about this covert investigative

Warrant.” JA383.1

      This Court affirmed. See Add.1-34. As relevant here, the Court concluded

that, based on the record, the NDO met the demanding strict-scrutiny standard.

Add.20-22. The interests supporting nondisclosure were compelling, Add.21-

22, and the NDO was narrowly tailored to further those interests “through the

least restrictive means.” Add.22 (quoting Williams-Yulee v. Fla. Bar, 575 U.S.

433, 452 (2015)). Twitter’s proposed alternatives—disclosing the NDO to the

former President or one of his representatives—“would not have safeguarded

the security and integrity of the investigation.”      Add.24.    Disclosing the

warrant’s existence to a representative, a measure other courts had rejected,

Add.24 (citing Matter of Subpoena 2018R00776, 947 F.3d 148, 159 (3d Cir. 2020)),

was also “‘unworkable’” because it would have forced the district court to

undertake the “unpalatable job” of determining whether a service provider’s

handpicked “‘confidante’” was trustwothy, Add.24-25.




1
 The district court also concluded that Twitter’s failure to comply fully with the
warrant by the (second) court-imposed deadline merited sanctions. JA384-89.
Twitter does not seek rehearing on that issue.

                                        4
USCA Case #23-5044      Document #2018981           Filed: 09/26/2023    Page 10 of 26



      The Court also rejected Twitter’s “underdeveloped” (Add.26) argument

that the district court erred under Freedman v. Maryland, 380 U.S. 51 (1965), by

requiring Twitter to comply with the warrant while the court adjudicated

Twitter’s First Amendment challenge. Add.25-29. Freedman—which required

certain procedural safeguards, including a mechanism for timely judicial review,

before a state could censor a film—was “readily distinguishable” and “a poor

fit” because the warrant in this case underwent a “full judicial process” even

before Twitter challenged the NDO, which in any event was “not the type of

‘classic prior restraint’ addressed by Freedman.” Add.27-29. No “Freedman-style

procedures” were therefore necessary. Add.28.

                                  ARGUMENT

                       Rehearing en banc is unwarranted.
      Rehearing en banc is disfavored. Fed. R. App. P. 35(a). It is “reserved

for ‘question[s] of exceptional importance’ or to preserve ‘uniformity of the

court’s decisions.’” In re Long-Distance Tel. Serv. Fed. Excise Tax Refund Litig., 751

F.3d 629, 636 (D.C. Cir. 2014) (quoting Fed. R. App. P. 35(a)). Twitter’s

petition fails to meet that demanding standard.            The Court’s factbound

determination that Twitter’s proposed alternatives to nondisclosure were

insufficient is neither exceptionally important nor in conflict with decisions of

other courts. And the Court’s conclusion that the procedures called for under



                                          5
USCA Case #23-5044     Document #2018981         Filed: 09/26/2023   Page 11 of 26



Freedman v. Maryland, 380 U.S. 51 (1965), were unnecessary in the context of

this case was correct and likewise consistent with other cases. The petition

should be denied. 2

      A.    The Court’s factbound rejection of Twitter’s proposed
            alternative to nondisclosure was correct and does not conflict
            with precedent.

      Twitter contends (Pet.7-13) that rehearing is warranted to reconsider

whether one of its proposed alternatives to nondisclosure—alerting a third-party

“representative” of the former President—was a viable less-restrictive option.

The Court’s factbound conclusion that that alternative was unworkable in this

case was correct. It was also consistent with the only other court of appeals to

have considered a similar argument. Moreover, nothing in the Court’s ruling

forecloses Twitter or another service provider from proposing such an

alternative in a future case. Rehearing on this issue is unwarranted.

      Like the district court, this Court assumed without deciding that strict

scrutiny applied, Add.19; see JA.372, and thus evaluated whether the NDO

served a compelling government interest and was narrowly tailored to further




2
  In an Amicus brief supporting Twitter’s petition, the Electronic Frontier
Foundation urges rehearing on the same two issues for the same principal
reasons as Twitter. See Brief of Amicus Curiae Electronic Frontier Foundation in
Support of Appellant’s Petition for Rehearing En Banc, at 4-14 (filed Sept. 8,
2023).

                                       6
USCA Case #23-5044     Document #2018981          Filed: 09/26/2023   Page 12 of 26



that interest.   Add.20.    After determining that nondisclosure served the

compelling interest of protecting the “integrity and secrecy” of an ongoing grand

jury investigation, Add.23, the Court concluded that the NDO’s limited scope

and short duration satisfied the narrow-tailoring requirement, Add.22.          In

reaching that conclusion, the Court found unpersuasive Twitter’s proffered

alternatives of alerting the former President or one of his representatives because

either option risked the very harms against which the NDO protected. Add.24

      That factbound determination was correct and does not warrant en banc

review. Although the Court noted that nondisclosure orders are arguably unlike

“typical prior restraint[s]” and therefore may not “warrant[ ] the most rigorous

First Amendment scrutiny,” Add.20 n.5 (internal quotation marks omitted), it

nonetheless applied the familiar two-part strict-scrutiny standard to Twitter’s

claim. Add.19-25. The Court thus required the Government to adduce a

compelling interest and to demonstrate that the NDO was narrowly tailored to

further that interest, and, applying that standard “on this record,” determined

that disclosing the warrant’s existence to the former President or one of his

representatives under the Presidential Records Act would undermine the

compelling interest supporting nondisclosure, Add.20, 23-25.

      Twitter’s repeated description (Pet.7, 8, 13) of the Court’s decision as

having fashioned a “categorical” rule that disclosure to a third party will always


                                        7
USCA Case #23-5044      Document #2018981            Filed: 09/26/2023   Page 13 of 26



prove “unworkable” is mistaken.3 Neither the Government’s argument nor the

Court’s case-specific holding categorically forecloses the possibility, in other

cases, that a limited disclosure to third parties—who may themselves be subject

to an order not to disclose the information to certain individuals, including the

target of an investigation—will be a viable alternative to a nondisclosure order. 4

Indeed, as Twitter notes, Department of Justice policy already specifically

contemplates notification of a third party under certain circumstances. Pet.10

(citing U.S. Dep’t of Justice, Seeking Enterprise Customer Data Held by Cloud Service

Providers (Dec. 2017)); see also U.S. Dep’t of Justice, Supplemental Policy Regarding

Applications for Protective Orders Pursuant to 18 U.S.C. § 2705(b), at 2 (May 27, 2022)

(requiring “case- and fact-specific analysis” to determine whether a

nondisclosure order should be sought). Based on an assessment of the record

before it—not, as Twitter suggests (Pet.11), the “grace of prosecutors”—the

district court concluded, and this Court agreed, that a nondisclosure order was

appropriate here. But those rulings do not hold or imply that, as a categorical

matter, Twitter or another entity could not under different facts disclose to a

third party legal process it receives from the Government. Just as the Supreme


3
    Amicus commits the same mistake. See Amicus Br.10.
4
 Twitter fails to cite, however, any published case in which a court has adopted
the approach it advocates with respect to a nondisclosure order issued, as here,
under 18 U.S.C. § 2705(b). See Pet.8.


                                          8
USCA Case #23-5044      Document #2018981        Filed: 09/26/2023   Page 14 of 26



Court does not grant a writ of certiorari to “review evidence and discuss specific

facts,” United States v. Johnston, 268 U.S. 220, 227 (1925), this Court should not

grant en banc rehearing to reassess the panel’s unanimous application of strict

scrutiny to the factual record. That is particularly the case where, as here,

Twitter advances factual arguments in its rehearing petition that it failed to

advance before the district court or the panel. See, e.g., Pet.9 (advocating for

disclosure to specific representative).

      Review is additionally unwarranted because, as Twitter acknowledges

(Pet.9), the only other court of appeals to have considered a similar argument

rejected it. In Matter of Subpoena 2018R00776, 947 F.3d 148 (3d Cir. 2020), the

Third Circuit considered an electronic service provider’s argument that, in lieu

of a nondisclosure order, the district court should have required the government

to notify a third party about a subpoena. Id. at 158. The court concluded that

that alternative was “untenable” because it was “impractical,” “would be

ineffective in maintaining . . . secrecy,” would risk “undermin[ing] the

government’s interest in maintaining the confidentiality of an ongoing

investigation,” and would require a court to “assess the trustworthiness of a

would-be confidante chosen by a service provider.” Id. at 158-59. Just as the

Court reasoned here, the Third Circuit determined that the district court had




                                          9
USCA Case #23-5044     Document #2018981            Filed: 09/26/2023   Page 15 of 26



properly “‘decline[d] to wade into this swamp’ of unworkable line drawing.” Id.

at 159 (quoting Williams-Yulee, 575 U.S. at 454).

      Finally, Twitter’s suggestion (Pet.12) that the nondisclosure question is

“of particular importance” because of a potential claim of executive privilege

does not merit further review. For one, Twitter does not explain the relevance

of a putatively “[u]nique” or “[i]mportant” issue—as Twitter characterized the

executive-privilege claim below, see JA14—to strict-scrutiny analysis. A Twitter

user’s potential ability to challenge legal process—here, the warrant—is entirely

distinct from the First Amendment concerns that Twitter claims it sought to

further through its own challenge to the NDO. See, e.g., JA5 n.1 (Twitter

acknowledging below that it was not challenging the warrant’s validity); JA6

(Twitter acknowledging it “might lack standing to assert the rights and privileges

of its users”). Nor does a Twitter user need notice of a warrant prior to execution

because any challenge by a property owner to a search warrant must come after

the warrant’s execution. See United States v. Grubbs, 547 U.S. 90, 99 (2006). In

any event, any executive-privilege claim would fail on the merits, see Gov. Br.42-

46, and the panel’s decision appropriately did not address it. 5



5
 Moreover, the proposed alternative that Twitter emphasizes in its rehearing
petition—disclosure of the warrant’s existence to a representative who cannot
disclose that information further—would not have resulted in a notification to


                                        10
USCA Case #23-5044      Document #2018981        Filed: 09/26/2023   Page 16 of 26



      B.    The Court’s determination that the procedures in Freedman v.
            Maryland do not apply to a nondisclosure order was correct and
            consistent with similar decisions of other courts of appeals.

      Twitter contends (Pet.13-18) that panel rehearing is warranted because the

Court erred in determining that the procedural safeguards first articulated in

Freedman, 380 U.S. 51, were not required and that Twitter received sufficient

procedural protections without applying Freedman. The Court correctly rejected

Twitter’s “underdeveloped” argument, Add.26, and its decision does not

conflict with the Second Circuit’s decision in John Doe, Inc. v. Mukasey, 549 F.3d

861 (2d Cir. 2008). Finally, Twitter’s concern (Pet.17) that the Court’s decision

will “do great damage if left uncorrected” overlooks the significant procedural

protections from which Twitter benefited. Rehearing is therefore unwarranted.

      In Freedman, a Maryland “motion picture censorship statute” required

submission of any film to a “Board of Censors” before it could be sold or

exhibited. 380 U.S. at 52 & n.1. The Supreme Court, recognizing that “any

system of prior restraints of expression comes to this Court bearing a heavy

presumption against its constitutional validity,” held that the Maryland scheme

was unconstitutional.    Id. at 57-60 (brackets and internal quotation marks

omitted).   In Freedman and subsequent cases, the Court developed certain



the former President such that he could have asserted an executive-privilege
claim.

                                       11
USCA Case #23-5044     Document #2018981          Filed: 09/26/2023   Page 17 of 26



“procedural safeguards” for censorship regimes involving content-based prior

restraints: “(1) any restraint prior to judicial review can be imposed only for a

specified brief period during which the status quo must be maintained; (2)

expeditious judicial review of that decision must be available; and (3) the censor

must bear the burden of going to court to suppress the speech and must bear the

burden of proof once in court.” Thomas v. Chicago Park Dist., 534 U.S. 316, 321

(2002) (internal quotation marks omitted).

      This Court correctly concluded that Freedman does not apply in the

“readily distinguishable context” of a criminal case involving a search warrant

and accompanying nondisclosure order. Add.27. The procedural safeguards

that Freedman prescribes, 380 U.S. at 58, apply to cases involving “government

censorship and licensing schemes,” not to a law that prohibits disclosure of

government requests for information “to assist in an investigation.”         In re

National Security Letter, 33 F.4th 1058, 1077 (9th Cir. 2022).        Because the

Freedman procedures “were designed to curb traditional censorship regimes,”

they “are not required in the context of government restrictions on the disclosure

of information transmitted confidentially as part of a legitimate government

process, because such restrictions do not pose the same dangers to speech rights

as do traditional censorship regimes.” Twitter, Inc. v. Garland, 61 F.4th 686, 707

(9th Cir. 2023).


                                       12
USCA Case #23-5044     Document #2018981          Filed: 09/26/2023   Page 18 of 26



      Twitter’s counterarguments lack merit. Twitter’s claim (Pet.13) that the

Supreme Court has not limited Freedman to “‘noncriminal’ schemes” finds no

support in the cases on which it relies, none of which involved a criminal

scheme, see id. at 14 (citing Supreme Court cases applying Freedman to

professional licensing statutes, injunctions preventing parades, and a law

blocking the sale of obscene materials). 6 And contrary to Twitter’s claim,

Pet.15, the Court’s reliance (Add.28) on “more analogous” cases—including

Seattle Times Co. v. Rhinehart, 467 U.S. 20 (1984), which upheld a civil protective

order limiting disclosure in part because such an order was “not the kind of

classic prior restraint that requires exacting First Amendment scrutiny,” Add.30

(internal quotation marks omitted)—was appropriate because those cases

underscore that Freedman should not be extended to “long-accepted

confidentiality restrictions concerning government-provided information

because of the differences between these types of confidentiality requirements

and traditional prior restraints.” Twitter, 61 F.4th at 708. Moreover, although

Freedman requires any restriction on speech prior to judicial resolution to

preserve the status quo, here Twitter sought broader relief: a freeze on a




6
  Amicus cites additional cases where courts have applied Freedman but likewise
fails to identify any criminal cases. See Amicus Br.11-12.


                                        13
USCA Case #23-5044     Document #2018981          Filed: 09/26/2023   Page 19 of 26



collateral step (the execution of a warrant) in a criminal investigation about

which it sought to speak.

      Twitter’s assertion (Pet.16-17) that further review is appropriate because

this Court’s decision conflicts with the Second Circuit’s decision in Mukasey,

supra, overlooks salient differences between the cases. In Mukasey, the court

considered whether the then-operative nondisclosure rules for a National

Security Letter (“NSL”) 7 comported with the First Amendment. At the time,

the rules permitted the Government to impose a nondisclosure obligation based

on a certification by a senior official from the FBI concerning certain

enumerated harms, 549 F.3d at 866, and did not require the Government to

“initiate judicial review of the lawfulness of a nondisclosure requirement,” id. at

878.8 In analyzing the NSL nondisclosure requirements, the Second Circuit

concluded that the availability of a nondisclosure order without a concomitant

requirement on the Government to initiate judicial review was inconsistent with


7
  An NSL is “an administrative subpoena issued by the FBI to a wire or
electronic communication service provider which requires the provider to
produce specified subscriber information that is relevant to an authorized
national security investigation.” In re National Security Letter, 33 F.4th at 1063;
see 18 U.S.C. § 2709(a).
8
 The relevant framework was enacted first in 1986 and amended several times
until the lawsuit in Mukasey was filed in 2004. See 549 F.3d at 865-66. The
Second Circuit remanded an earlier appeal to the district court after Congress
amended the NSL requirements in 2006, and its 2008 decision considered the
2006 amendments. Id. at 869.


                                        14
USCA Case #23-5044       Document #2018981            Filed: 09/26/2023    Page 20 of 26



the third Freedman requirement. Id. at 883. In 2015, Congress amended the NSL

nondisclosure requirements, including by adding two ways for a NSL recipient

to avail itself of judicial review. See In re National Security Letter, 33 F.4th at 1066-

67. Reviewing the 2015 amendments to the NSL nondisclosure requirements,

the Ninth Circuit initially opted not to resolve whether “the NSL law must

provide [the Freedman] procedural safeguards” because that law “in fact provides

all of them.” Id. at 1079. In a subsequent NSL case, the Ninth Circuit concluded

that Freedman’s “particular procedural framework” did not apply, but that in any

event, the service provider—Twitter—had received “procedural protections”

that were “substantial and sufficient.” Twitter, 61 F.4th at 707-08.

      This case is an unsuitable vehicle to consider any potential conflict

concerning the treatment of NSL nondisclosure requirements between the

Second Circuit and the Ninth Circuit.            For one, the search warrant and

accompanying NDO here involved a statutory nondisclosure framework distinct

from the NSL nondisclosure requirements. Here, for example, the Government

was required to prove to a judicial officer that probable cause supported issuing

a search warrant, and then to demonstrate to the same judicial officer “reason

to believe that notification of the existence” of the warrant would result in an

enumerated harm, including “destruction of or tampering with evidence,”

“intimidation of potential witnesses,” or “otherwise seriously jeopardizing an


                                           15
USCA Case #23-5044    Document #2018981         Filed: 09/26/2023   Page 21 of 26



investigation.” 18 U.S.C. § 2705(b). Furthermore, unlike the Ninth Circuit, the

Second Circuit does not appear to have revisited whether or how Freedman

would apply in light of the 2015 amendments to the NSL nondisclosure

requirements.   Finally, even under a modification to the NSL framework

contemplated in Mukasey, the district court’s decision here to adjudicate the

Government’s show-cause motion before resolving Twitter’s separate challenge

to the NDO would not have been inconsistent with Freedman. See Mukasey, 549

F.3d at 879 (proposing a 60-day time period for resolving a challenge to

nondisclosure during which the nondisclosure requirement would remain in

effect “[i]n accordance with the first and second Freedman safeguards”).

      Twitter’s claim (Pet.17-18) that the Court’s decision will do “great

damage” is both incorrect and overstated. Notwithstanding the Court’s correct

conclusion that Freedman’s procedural requirements did not apply, Twitter

nonetheless received “full judicial process” accorded by statute, including a

“neutral and detached judge consider[ing] statutory factors and ma[king]

specific findings that supported the issuance of the nondisclosure order.”

Add.27-28. Twitter sought judicial review of the nondisclosure order within

weeks of receiving the warrant and NDO, see Add.4-6, and fewer than 30 days

elapsed from the filing of Twitter’s motion seeking to vacate or modify the NDO

until the district court’s order denying that motion, see JA.3 (motion filed on


                                      16
USCA Case #23-5044     Document #2018981          Filed: 09/26/2023   Page 22 of 26



Feb. 2, 2023); JA.356-390 (district court ruling on Mar. 3, 2023); see Mukasey,

549 F.3d at 879 (contemplating 60-day period to resolve NSL nondisclosure

challenge). Moreover, the Court’s ruling did not, as Twitter suggests, hold that

“courts are never required to resolve challenges to non-disclosure orders before

ordering compliance with a warrant.” Pet.17 (emphasis added). Instead, the

Court acknowledged that although the district could court have resolved the

First Amendment and warrant compliance issues simultaneously, the court’s

determination “not to delay execution of the warrant under the particular

circumstances presented” was not an abuse of discretion. Add.26.

      Twitter’s argument (Pet.17-18) that a different rule should apply where, as

here, an executive-privilege claim is presented lacks merit. For one, the cases

on which Twitter relies (id.) did not involve a pre-enforcement challenge by a

third party—like Twitter—that held no cognizable privilege in the materials to

be seized under the warrant. See In re Sealed Search Warrant & Application for a

Warrant by Tel. or Other Reliable Elec. Means, 11 F.4th 1235, 1238-39 (11th Cir.

2021) (per curiam) (challenge brought by attorneys “assert[ing] attorney-client

and work-product privilege over at least some of [the] documents”), cert. denied,

143 S. Ct. 88 (2022); In re Search Warrant Issued June 13, 2019, 942 F.3d 159, 164-

65 (4th Cir. 2019) (challenge brought by law firm invoking attorney-client and

work-product privilege over materials); In re Search Warrant (Sealed), 810 F.2d


                                        17
USCA Case #23-5044     Document #2018981          Filed: 09/26/2023   Page 23 of 26



67, 70-71 (3d Cir. 1987) (post-search challenge to medical records under the

medical professionals and patients privilege).        Additionally, beyond the

ungrounded speculation exercised on behalf of one particular user,9 Twitter had

no plausible reason to conclude that the former President, with the full array of

communication technologies available to the head of the Executive Branch,

would have used Twitter’s direct-message function to carry out confidential

communications with Executive Branch advisors.          In any event, Twitter’s

proposed alternative to nondisclosure would not have enabled the former

President to assert an executive privilege-claim. See supra note 5.




9
  As Twitter acknowledged below, JA6, Twitter users on whose accounts a
search warrant has been executed could potentially advance any number of legal
arguments related to information obtained as a result, including privilege claims
(such as attorney-client, clergy-penitent, and public officials protected by
“official privileges”) and suppression claims under the Fourth Amendment.

                                       18
USCA Case #23-5044    Document #2018981        Filed: 09/26/2023   Page 24 of 26



                              CONCLUSION

      The Court should deny Twitter’s petition for rehearing en banc.

                                        Respectfully submitted,


 J.P. COONEY                            JACK SMITH
 Deputy Special Counsel                 Special Counsel

 RAYMOND N. HULSER                      THOMAS P. WINDOM
 Counselor to the Special Counsel       Senior Assistant Special Counsel

 CECIL W. VANDEVENDER                   JAMES I. PEARCE
 Assistant Special Counsel              Assistant Special Counsel
                                        U.S. Department of Justice
                                        950 Pennsylvania Ave., N.W.
                                        Rm. B-206
                                        Washington, D.C. 20530
                                        (202) 705-9879
                                        jip@usdoj.gov

 September 26, 2023




                                     19
USCA Case #23-5044    Document #2018981          Filed: 09/26/2023   Page 25 of 26



                 CERTIFICATE OF COMPLIANCE
           WITH TYPEFACE AND LENGTH LIMITATIONS

      1.    This brief contains 3,886 words, excluding the parts of the brief

exempted by Fed. R. App. P. 32(f).

      2.    This brief complies with the typeface requirements of Fed. R. App.

P. 32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6) because

it has been prepared in proportionally spaced, 14-point serif typeface using

Microsoft Word for Microsoft 365.

                                            /S/ JAMES I. PEARCE
                                            Assistant Special Counsel
                                            U.S. Department of Justice
                                            (202) 705-9879
                                            jip@usdoj.gov




                                       20
USCA Case #23-5044    Document #2018981          Filed: 09/26/2023   Page 26 of 26



                       CERTIFICATE OF SERVICE

      I hereby certify that I filed the foregoing with the Clerk of the Court for

the United States Court of Appeals for the District of Columbia Circuit on

September 26, 2023. I certify that service will be accomplished by email to

following counsel for Twitter:

SETH WAXMAN
ARI HOLTZBLATT
BENJAMIN POWELL
WHITNEY RUSSELL
WILMER CUTLER PICKERING
HALE AND DORR LLP
2100 Pennsylvania Avenue NW
Washington, DC 20006
(202) 663-6000

GEORGE P. VARGHESE
WILMER CUTLER PICKERING
HALE AND DORR LLP
60 State Street
Boston, MA 02109
(617) 526-6000


                                           /S/ JAMES I. PEARCE
                                           Assistant Special Counsel
                                           U.S. Department of Justice
                                           (202) 705-9879
                                           jip@usdoj.gov




                                      21
